

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. AP-75,584






EX PARTE ROY LEE ALEX, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. W9256-1 IN THE 355TH DISTRICT COURT


FROM HOOD COUNTY






	Per curiam.


O P I N I O N



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of driving while
intoxicated and sentenced to forty-five years' imprisonment.  The Second Court of Appeals affirmed
his conviction.  Alex v. State, 02-05-324-CR (Tex. App.-- Fort Worth March 2, 2006, no pet.).  

	Applicant contends that his appellate counsel rendered ineffective assistance because counsel
failed to timely notify Applicant that his conviction had been affirmed and failed to advise him of
his right to petition for discretionary review pro se. We remanded this application to the trial court
for findings of fact and conclusions of law.

	Appellate counsel filed an affidavit with the trial court.  Based on that affidavit, the trial court
has entered findings of fact and conclusions of law that appellate counsel failed to timely notify
Applicant that his conviction had been affirmed and failed to advise him of his right to petition for
discretionary appeal pro se.  The trial court recommends that relief be granted.  Ex parte Wilson, 956
S.W.2d 25 (Tex. Crim. App. 1997).  We find, therefore, that Applicant is entitled to the opportunity
to file an out-of-time petition for discretionary review of the judgment of the Second Court of
Appeals in Cause No. 02-05-324-CR that affirmed his conviction in Case No. 9256 from the 355th
Judicial District Court of Hood County.  Applicant shall file his petition for discretionary review
with the Second Court of Appeals within 30 days of the date on which this Court's mandate issues.


Delivered: January 10, 2007

Do not publish


